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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Iva Bonelli                                                           CHAPTER 13
                                  Debtor(s)

Nationstar Mortgage LLC d/b/a Mr. Cooper
                              Plaintiff                         ADV. NO. 21-00084 ELF
               vs.
                                                                CASE NO. 20-14471 ELF
Iva Bonelli
                                  Defendant(s)


                                                   ORDER


        AND NOW, this ____________ day of ________________________, 2022, upon consideration

of the foregoing Motion to Approve Settlement, it is hereby ORDERED that the Stipulation and Loan

Modification is approved by the Court, and it is

        FURTHER ORDERED that the Satisfaction of Mortgage recorded on December 14, 2018 at

Instrument Number 11643905, be and is hereby STRICKEN nunc pro tunc and it is

        FURTHER ORDERED that Plaintiff may record a copy of this order in the records of the

Recorder of Deeds of Chester County with regards to the Property, 13 Landmark Drive, Malvern, PA

19355, Boro of Malvern, Parcel ID 0202 00810000.



                                                      BY THE COURT:




                                                      _____________________________

                                                      J.
